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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                          CASE NO.: 18-cr-20948-GAYLES

  UNITED STATES OF AMERICA,

                 Plaintiff,
  v.

  NINI JOHANA USUGA-DAVID,

                 Defendant.
                                                 /

        DEFENDANT’S JOINT MOTION FOR 30-DAY CONTINUANCE OF TRIAL

         COMES NOW, the Defendant, NINI JOHANA USUGA-DAVID, by and through

  undersigned counsel, joined by the government, and pursuant to 18 U.S.C. § 3161(h)(7)(B), and

  respectfully moves this Honorable Court for the entry of an Order continuing the calendar call and

  trial of the instant matter for thirty (30) days, in support thereof avers the following:

         1.      Defendant is in United States custody at FDC Miami.

         2.      Defendant was extradited to the United States from Colombia on July 1, 2022, and

  made her initial appearance on July 5, 2022. Due to FDC’s COVID-19 protocols. Defendant was

  immediately placed in quarantine. Because it was unclear when Defendant would be transferred

  from quarantine to general population, her arraignment was scheduled one month out from the

  date of her initial appearance.

         3.      Defendant was arraigned on August 5, 2022.

         4.      Calendar Call is presently set for October 5, 2022, at 9:30 a.m., and Jury Trial is set

  for October 11, 2022.




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          5.      Defendant and the government are actively engaged in negotiations that will

  obviate the need for a trial.

          6.      The Speedy Trial Act authorizes the Court to effectively toll the seventy-day trial

  period for any period of time by granting a “continuance on the basis of [the Court’s] findings that

  the ends of justice served by taking such action outweigh the best interest of the public and the

  defendant in a speedy trial.” 18 United States Code, Section 3161(h)(7)(A).

          7.      Undersigned counsel asserts in good faith that the ends of justice in a continuance

  outweigh the public interest and Defendant’s right to a speedy trial.

          8.      This motion is not filed to hinder or delay the instant matter.

          9.      This matter has not previously been continued.

          10.     Pursuant to Local Rule 88.9, undersigned counsel discussed this first request for a

  continuance of trial with AUSA Shane Butland, who joins in this motion.

          11.     No party shall be prejudiced should this Honorable Court grant the instant motion.

          12.     Lastly, Defendant waived her right to speedy trial. See Defendant’s Affidavit of

  Waiver of Speedy Trial, attached hereto as Exhibit “A.”

          13.     For the reasons herein above, the undersigned respectfully requests a 30-day

  continuance of trial.

          WHEREFORE, Defendant, NINI JOHANA USUGA-DAVID, respectfully requests this

  Honorable Court grant a 30-day continuance of trial.




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                                                      Respectfully Submitted,

                                                      /s/ DAVID A. NUNEZ
                                                      David A. Nunez
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 29, 2022, I presented the foregoing to the Clerk

  of the Court for filing and uploading to the CM/ECF system which will send a notice of electronic

  filing to the following: Shane Butland, AUSA, Office of the U.S. Attorney, 99 N.E. 4th Street,

  Miami, Florida 33132.

                                                      /s/ DAVID A. NUNEZ
                                                      David A. Nunez




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